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                                                                    ELECTRONICALLY FILED
UNITED STATES DISTRICT COURT                                        DOC#:
SOUTHERN DISTRICT OF NEW YORK                                       DATE FILED: 02/25/2021


 UNITED STATES OF AMERICA,
                                                                  No. 99-CR-75 (RA)
                         v.
                                                                        ORDER
 ROBERTO BERAS,

                              Defendant.


RONNIE ABRAMS, United States District Judge:

         Earlier today, the Court noted that the Government had not yet responded to Mr. Beras’s
letter dated January 14, 2021 (Dkt. 206) and directed the Government to either file a response or
seek an extension no later than Monday, March 1, 2021. See Dkt. 210. This afternoon, however,
my chambers received a phone call from a member of Mr. Beras’s family, who reported a belief
that Mr. Beras is scheduled to be removed from the United States on Monday. In light of this
development, the Government is directed to respond no later than tomorrow.
         In addition, the Court reappoints Mr. Mysliwiec on a limited basis to once again
expeditiously establish contact with Mr. Beras and, if there is any legal basis to support his
request for relief, to advise the Court accordingly.
         The Clerk of Court is respectfully directed to mail a copy of this order to Mr. Beras at the
following address: Roberto Beras, #992772, Clinton County Correctional Facility, P.O. Box 419,
McElhattan, PA 17748.
SO ORDERED.

Dated:      February 25, 2021
            New York, New York

                                                   Ronnie Abrams
                                                   United States District Judge
